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| Pepe “pny |
UNITED STATES DISTRICT COURT | SOC UMENT |
SOUTHERN DISTRICT OFNEW YORK = LROTRONICALLY FILED |
UNITED STATES OF AMERICA OR
| PELED: (fiafas
-against ORDER
21 CR 12 (KMW)
ERIK FELIZ,
Defendant.
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KIMBA M. WOOD, District Judge:

The Court will hold a teleconference in the above-captioned case on Thursday, January
21, 2021, at 12:30 p.m.

To join the teleconference, the parties should dial 888-363-4749 and enter access code
1613818.

SO ORDERED.

Dated: New York, New York
January 12, 2021

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KIMBA M. WOOD
UNITED STATES DISTRICT JUDGE

 

 
